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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

DAVID J. LOPEZ,

        Plaintiff,

vs.                                                                          No. CIV 11-0998 JB/RHS

WARDEN ANTHONY ROMERO,
C/O JAMES CHAVEZ,
C/O ANTHONY ROSALES,

        Defendants.

                           MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court: (i) under 28 U.S.C. § 1915(e)(2) and rule 12(b)(6)

of the Federal Rules of Civil Procedure, on the Plaintiff’s Civil Rights Complaint Pursuant to 42

U.S.C. § 1983, filed November 9, 2011 (Doc. 1)(“Complaint”); and (ii) the Plaintiff’s Motion for

Discovery, filed February 6, 2012 (Doc. 10)(“Motion”). Plaintiff David J. Lopez is incarcerated,

appears pro se, and is proceeding in forma pauperis. The Court will dismiss certain of Lopez’s

claims and will deny the Motion.

        The Court has the discretion to dismiss an in forma pauperis complaint sua sponte under

§1915(e)(2) “at any time if the action . . . is frivolous or malicious; [or] fails to state a claim upon

which relief may be granted.” The Court also may dismiss a complaint sua sponte under rule

12(b)(6) for failure to state a claim if “it is ‘patently obvious’ that the plaintiff could not prevail on

the facts alleged, and allowing him an opportunity to amend his complaint would be futile.” Hall

v. Bellmon, 935 F.2d 1106, 1109 (10th Cir. 1991) (quoting McKinney v. Okla. Dep’t of Human

Servs., 925 F.2d 363, 365 (10th Cir. 1991)). A plaintiff must allege “enough facts to state a claim

to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). In
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reviewing Lopez’ Complaint, the Court applies the same legal standards applicable to pleadings that

counsel drafts, but liberally construes the allegations. See Northington v. Jackson, 973 F.2d 1518,

1520-21 (10th Cir. 1992).

                      LAW REGARDING THE EIGHTH AMENDMENT
                        TO THE UNITED STATES CONSTITUTION

        The Supreme Court of the United States has held that “a prison official’s ‘deliberate

indifference’ to a substantial risk of serious harm” implicates the Eighth Amendment. Farmer v.

Brennan, 511 U.S. 825, 828 (1994). An official violates the Eighth Amendment when two elements

are met: (i) the official causes an injury that, objectively, is “sufficiently serious,” i.e., an injury that

equates to the “denial of the minimal civilized measure of life’s necessities”; and (ii) the official has

a “sufficiently culpable state of mind.” Farmer v. Brennan, 511 U.S. at 834 (internal quotation

marks omitted). The second condition represents the functional application of the deliberate

indifference standard. See Smith v. Cummings, 445 F.3d 1254, 1258-59 (10th Cir. 2006)(“To

establish a cognizable Eight Amendment claim for failure to protect [an inmate from harm], the

plaintiff must show that he is incarcerated under conditions posing a substantial risk of serious harm,

the objective component, and that the prison official was deliberately indifferent to his safety, the

subjective component.” (quoting Verdecia v. Adams, 327 F.3d 1171, 1175 (10th Cir. 2003)).

        Analyzing whether the plaintiff has satisfied the first element, the objective element,

“requires more than a scientific and statistical inquiry into the seriousness of the potential harm and

the likelihood that such an injury to health will actually be caused.” Helling v. McKinney, 509 U.S.

25, 36 (1993). Courts should also consider “whether society considers the risk that the prisoner

complains of to be so grave that it violates contemporary standards of decency to expose anyone

unwillingly to such a risk.” Helling v. McKinney, 509 U.S. at 36 (emphasis in original). “In other


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words, the prisoner must show that the risk of which he complains is not one that today’s society

chooses to tolerate.” Helling v. McKinney, 509 U.S. at 36. On the issue of what qualifies as a

serious medical problem, it is unnecessary to show that a plaintiff is presently suffering from serious

medical problems if the conditions of confinement are certainly or very likely to cause serious

injury. See Helling v. McKinney, 509 U.S. at 33. Additionally, it may be in some cases appropriate

to look at several conditions of confinement to determine whether they establish an Eighth

Amendment violation when combined, if each alone would not do so. See Wilson v. Seiter, 501

U.S. 294, 304 (1991). Courts may only consider conditions of confinement in combination,

however, when “they have a mutually enforcing effect that produces the deprivation of a single,

identifiable human need such as food, warmth, or exercise -- for example, a low cell temperature

at night combined with a failure to issue blankets.” Wilson v. Seiter, 501 U.S. at 304. Thus, courts

should usually consider each condition of confinement separately. Wilson v. Seiter, 501 U.S. at

304-05.

       The second element regarding the government official’s state of mind is a subjective inquiry.

See Wilson v. Seiter, 501 U.S. at 298. Courts apply this subjective inquiry whether the allegations

are that a “short-term” or “one-time” violation occurred, or that “continuing” or “systemic”

violations occurred. Wilson v. Seiter, 501 U.S. at 299. The Supreme Court has stated: “With

deliberate indifference lying somewhere between the poles of negligence at one end and purpose or

knowledge at the other, the Courts of Appeals have routinely equated deliberate indifference with

recklessness.” Farmer v. Brennan, 511 U.S. at 836. The Supreme Court provided the following test

for determining when this subjective element is met:

       [A] prison official cannot be found liable under the Eighth Amendment for denying
       an inmate humane conditions of confinement unless the official knows of and
       disregards an excessive risk to inmate health or safety; the official must both be

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       aware of facts from which the inference could be drawn that a substantial risk of
       serious harm exists, and he must also draw the inference.

Farmer v. Brennan, 511 U.S. at 837. For the purpose of Eighth Amendment analysis, the United

States Court of Appeals for the Tenth Circuit has equated deliberate indifference with recklessness.

See Belcher v. United States, 216 F.App’x 821, 823-24 (10th Cir. 2007)(unpublished)(quoting Smith

v. Cummings, 445 F.3d at 1258).

       In Graham v. Connor, the Supreme Court addressed whether a plaintiff could assert both

Eighth Amendment violations and substantive due-process violations in the same suit against

government officials alleging that they engaged in physically abusive conduct. See Graham v.

Connor, 490 U.S. at 394-95. It held that, when a specific constitutional amendment provides “an

explicit textual source of constitutional protection against this sort of physically intrusive

governmental conduct,” courts should analyze all constitutional claims under that amendment’s

standards rather than under “the more generalized notion of ‘substantive due process.’” Graham v.

Connor, 490 U.S. at 395. The Supreme Court gave as an example for this principle “the Eighth

Amendment’s ban on cruel and unusual punishments,” because it is one of the “two primary sources

of constitutional protection against physically abusive governmental conduct.” Graham v. Connor,

490 U.S. at 395. The Supreme Court later clarified that this holding in Graham v. Connor “simply

requires that if a constitutional claim is covered by a specific constitutional provision, such as the

Fourth or Eighth Amendment, the claim must be analyzed under the standard appropriate to that

specific provision, not under the rubric of substantive due process.” United States v. Lanier, 520

U.S. 259, 272 n.7 (1997). To illustrate this point, the Supreme Court has recognized that, if a search

or seizure did not occur, the Fourth Amendment does not cover the situation, and the plaintiff may

proceed on a substantive due-process theory. See Cnty. of Sacramento v. Lewis, 523 U.S. at 842-


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844 (“The Fourth Amendment covers only ‘searches and seizures,’ neither of which took place

here. . . . Graham’s more-specific-provision rule is therefore no bar to respondents’ suit.”).

       In Riddle v. Mondragon, 83 F.3d 1197 (10th Cir. 1996), the Tenth Circuit addressed a case

where the plaintiff asserted claims that they were “denied necessary medical care [in prison] in

violation of their rights under the Eighth and Fourteenth Amendments.” 83 F.3d at 1202. In

determining whether to apply Eighth Amendment standards or substantive due-process standards

when reviewing the plaintiffs’ claims in Riddle v. Mondragon, the Tenth Circuit noted that, “where

constitutional protection is afforded under specific constitutional provisions, alleged violations of

the protection should be analyzed under those provisions and not under the more generalized

provisions of substantive due process.” 83 F.3d at 1202 (citing Berry v. City of Muskogee, 900 F.2d

1489, 1493 (10th Cir. 1990)). Thus, the Tenth Circuit reviewed the plaintiffs’ claims for denial of

medical care in prison under the Eighth Amendment and did not consider the plaintiffs’ substantive

due-process theory. See Riddle v. Mondragon, 83 F.3d at 1202 (“Accordingly, we will review

plaintiffs’ claims under the Eighth Amendment as made applicable to the states through the

Fourteenth Amendment.”).

                                           ANALYSIS

       Lopez alleges that, after a number of confrontations, Defendant C/O James Chavez assaulted

him. Chavez also allegedly ordered Lopez to take a urine test and falsified the results. The test

showed a positive result for “T.H.C.,”1 and Lopez was placed in a higher disciplinary custody level.

Defendant Warden Anthony Romero denied Lopez’ grievances. Lopez also alleges that Defendant

C/O Anthony Rosales stole money from Lopez’ inmate account. He makes additional allegations


       1
       Tetrahydrocannabinol, also known as THC, is a “psychoactive isomer[]” present in
marijuana. Stedman’s Medical Dictionary 1967 (28th ed. 2006).

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of denial of recreation and medical care, but does not identify responsible parties. Lopez contends

that these actions have violated his constitutional rights, and he seeks damages and certain equitable

relief.

          No relief is available on Lopez’ claims against Romero. His only factual allegations against

Romero is that: (i) he rejected Lopez’ efforts to obtain administrative relief; and (ii) he placed him

“on disciplinary detention Level VI”; and (iii) he charged Lopez fifty dollars for repairs. Complaint

at 1-3. “[P]rovision of an administrative grievance process [does not] create a liberty interest in that

process.” Boyd v. Werholtz, 443 F.App’x 331, 332 (10th Cir. 2011)(unpublished). Accord

Merryfield v. Jordan, 431 F.App’x 743, 750 (10th Cir. 2011)(unpublished). “When the claim

underlying the administrative grievance involves a constitutional right, the prisoner’s right to

petition the government for redress is the right of access to the courts, which is not compromised

by the prison’s refusal to entertain his grievance.’” Rauh v. Ward, 112 F.App’x 692, 694 (10th Cir.

2004)(unpublished)(quoting Flick v. Alba, 932 F.2d 728, 729 (8th Cir. 1991)). Nor “can [officials]

be considered deliberately indifferent simply because they failed to respond directly to the [post-

deprivation] complaints of a prisoner.” Durmer v. O’Carroll, 991 F.2d 64, 69 (3d Cir. 1993).

Furthermore, “a denial of a grievance, by itself without any connection to the violation of

constitutional rights alleged by plaintiff, does not establish personal participation under § 1983.”

Gallagher v. Shelton, 587 F.3d 1063, 1069 (10th Cir. 2009). When an inmate’s “only allegations

involving [particular] defendants relate to the denial of his grievances, he has not adequately alleged

any factual basis to support an ‘affirmative link’ between these defendants and any alleged

constitutional violation.” Gallagher v. Shelton, 587 F.3d at 1069. Many of Lopez’ allegations

against Romero do not amount to more than a complaint that Romero denied his grievances.

Consequently, the Court will dismiss Lopez’ claim against Romero for denial of grievances.

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       Lopez’ allegations regarding Romero improperly placing him “on disciplinary detention

Level VI” and charging him fifty dollars for repairs are conclusory. Complaint at 1-3. An official

violates the Eighth Amendment when two elements are met: (i) the official causes an injury that,

objectively, is “sufficiently serious,” i.e., an injury that equates to the “denial of the minimal

civilized measure of life’s necessities”; and (ii) the official has a “sufficiently culpable state of

mind.” Farmer v. Brennan, 511 U.S. at 834 (internal quotation marks omitted). The Supreme Court

provided the following test for determining when this subjective element is met:

       [A] prison official cannot be found liable under the Eighth Amendment for denying
       an inmate humane conditions of confinement unless the official knows of and
       disregards an excessive risk to inmate health or safety; the official must both be
       aware of facts from which the inference could be drawn that a substantial risk of
       serious harm exists, and he must also draw the inference.

Farmer v. Brennan, 511 U.S. at 837. Lopez does not allege that Romero was aware of any facts that

placing him on disciplinary detention was an improper course of action such that it would amount

to deliberate indifference, or that Romero drew such an inference. See Farmer v. Brennan, 511 U.S.

at 837. Furthermore, Lopez alleges no facts that would establish that, taking as true that Romero

improperly charged Lopez fifty dollars, Romero charging Lopez this amount rises beyond the level

of merely negligent conduct to deliberately indifferent conduct. There are no allegations that

Romero was aware of facts from which he could draw the inference that Lopez had committed no

misconduct.

       Lastly, Lopez’ constitutional claims against Romero that are based on improper treatment

in prison would have to be brought under the Eighth Amendment. When a specific constitutional

amendment provides “an explicit textual source of constitutional protection against this sort of

physically intrusive governmental conduct,” courts should analyze all constitutional claims under

that amendment’s standards rather than under “the more generalized notion of ‘substantive due

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process.’” Graham v. Connor, 490 U.S. at 395. The Supreme Court gave as an example for this

principle “the Eighth Amendment’s ban on cruel and unusual punishments,” because it is one of the

“two primary sources of constitutional protection against physically abusive governmental conduct.”

Graham v. Connor, 490 U.S. at 395. Thus, dismissal of the Fourth and Fourteenth Amendment

claims against Romero is appropriate under Graham v. Connor.

       Additionally, Lopez’s Motion seeking discovery is premature. The Court’s local rules

exclude this prisoner civil rights case from the usual pretrial case management procedures. See

D.N.M.LR-Civ.16.3(d). The Court has not entered a scheduling order, and the record reflects no

agreement by the parties to start discovery on their own. See D.N.M.LR-Civ. 26.4(a), 26.5(a). The

Court will deny the Motion without prejudice at this time. The Defendants need not respond to

Lopez’ discovery request at this time, and discovery will not commence except on further order.

       IT IS ORDERED that (i) the Plaintiff’s Motion for Discovery, filed February 6, 2010 (Doc.

10), is denied without prejudice at this time; (ii) his claims against Defendant Warden Anthony

Romero are dismissed, and Romero is dismissed as a party to this action; and (iii) the Clerk is

directed to issue notice and waiver of service forms, with copies of the complaint and this Order,

for Defendants C/O James Chavez and C/O Anthony Rosales.



                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE

Parties:

David J. Lopez
Penitentiary of New Mexico
Santa Fe, New Mexico

       Plaintiff pro se


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